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                                          7
                                                Attorneys for Cheval Ford
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                                          9
                                         10                           UNITED STATES DISTRICT COURT
                                         11                          SOUTHERN DISTRICT OF CALIFORNIA
                                         12
                                                                                                                 '13CV2626 MMA KSC
HYDE & SWIGART




                                                     Cheval Ford,                                       Case No: ________________
                 San Diego, California




                                         13
                                         14                               Plaintiff,                    Complaint For Damages
                                                     v.
                                         15                                                             Jury Trial Demanded
                                         16          Asset Acceptance, LLC; and Fulton,
                                                     Friedman & Gullace, LLP,
                                         17
                                         18                               Defendants.

                                         19
                                         20                                              INTRODUCTION
                                         21     1.        The United States Congress has found abundant evidence of the use of
                                         22               abusive, deceptive, and unfair debt collection practices by many debt
                                         23               collectors, and has determined that abusive debt collection practices
                                         24               contribute to the number of personal bankruptcies, to marital instability, to the
                                         25               loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
                                         26               Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
                                         27               “FDCPA”), to eliminate abusive debt collection practices by debt collectors,
                                         28               to insure that those debt collectors who refrain from using abusive debt

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                                          1           collection practices are not competitively disadvantaged, and to promote
                                          2           consistent State action to protect consumers against debt collection abuses.
                                          3     2.    The California legislature has determined that the banking and credit system
                                          4           and grantors of credit to consumers are dependent upon the collection of just
                                          5           and owing debts and that unfair or deceptive collection practices undermine
                                          6           the public confidence that is essential to the continued functioning of the
                                          7           banking and credit system and sound extensions of credit to consumers. The
                                          8           Legislature has further determined that there is a need to ensure that debt
                                          9           collectors exercise this responsibility with fairness, honesty and due regard
                                         10           for the debtor’s rights and that debt collectors must be prohibited from
                                         11           engaging in unfair or deceptive acts or practices.
                                         12     3.    Cheval Ford, (Plaintiff), through Plaintiff's attorneys, brings this action to
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                                         13           challenge the actions of Asset Acceptance, LLC (“Asset”) and Fulton,
                                         14           Friedman & Gullace, LLP, (“Fulton”) (jointly “Defendants”), with regard to
                                         15           attempts by Defendants to unlawfully and abusively collect a debt allegedly
                                         16           owed by Plaintiff, and this conduct caused Plaintiff damages.
                                         17     4.    Plaintiff makes these allegations on information and belief, with the exception
                                         18           of those allegations that pertain to a plaintiff, or to a plaintiff's counsel, which
                                         19           Plaintiff alleges on personal knowledge.
                                         20     5.    While many violations are described below with specificity, this Complaint
                                         21           alleges violations of the statutes cited in their entirety.
                                         22     6.    Unless otherwise stated, all the conduct engaged in by Defendants took place
                                         23           in California.
                                         24     7.    Any violations by Defendants were knowing, willful, and intentional, and
                                         25           Defendants did not maintain procedures reasonably adapted to avoid any such
                                         26           violation.
                                         27     ///
                                         28     ///

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                                          1                                       JURISDICTION AND VENUE
                                          2     8.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C. §
                                          3           1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
                                          4     9.    This action arises out of Defendants' violations of the Fair Debt Collection
                                          5           Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”) and the Rosenthal Fair
                                          6           Debt Collection Practices Act, California Civil Code §§ 1788-1788.32
                                          7           (“Rosenthal Act”).
                                          8     10.   Plaintiff resides in the city of Rancho Bernardo within the County of San
                                          9           Diego, California.
                                         10     11.   Defendant Asset regularly operates within the county of San Diego and files
                                         11           hundreds of lawsuits, including one against Plaintiff in the San Diego
                                         12           Superior Court. This lawsuit is the action that gives rise to Plaintiff’s claim.
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                                         13     12.   Because Defendant Asset does business and has the capacity to sue within the
                                         14           County of San Diego, State of California, personal jurisdiction is established.
                                         15           and venue is proper pursuant to 28 U.S.C. § 1391(b)(1) & (c)(2).
                                         16     13.   Defendant Fulton regularly operates within the county of San Diego and was
                                         17           retained by Defendant Asset to file a collection lawsuit against Plaintiff in San
                                         18           Diego County. This lawsuit is the action that gives rise to Plaintiff’s claim.
                                         19     14.   Because Defendant Fulton does business and has the capacity to sue within
                                         20           the County of San Diego, State of California, personal jurisdiction is
                                         21           established. and venue is proper pursuant to 28 U.S.C. § 1391(b)(1) & (c)(2).
                                         22     15.   Because a substantial part of the events giving rise to the claim occurred in
                                         23           San Diego, venue is also proper pursuant to 28 U.S.C. § 1391(b)(2).
                                         24     16.   Because Defendants do business within the County of San Diego, State of
                                         25           California, personal jurisdiction is established.
                                         26     17.   Venue is proper pursuant to 28 U.S.C. § 1391.
                                         27     18.   At all times relevant, Defendants conducted business within the County of
                                         28           San Diego, the State of California.

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                                          1                                                   PARTIES
                                          2     19.   Plaintiff is a natural person who resides in the City of Rancho Bernardo, State
                                          3           of California.
                                          4     20.   Defendant Asset Acceptance, LLC (“Asseet”) is located in the City of Warren,
                                          5           in the State of Michigan.
                                          6     21.   Defendant Fulton, Friedman & Gullace, LLP (“Fulton”) is located in the City
                                          7           of Concord, in the State of California.
                                          8     22.   Plaintiff is obligated or allegedly obligated to pay a debt, and is a “consumer”
                                          9           as that term is defined by 15 U.S.C. § 1692a(3).
                                         10     23.   Defendants are persons who use an instrumentality of interstate commerce or
                                         11           the mails in a business the principal purpose of which is the collection of
                                         12           debts, or who regularly collect or attempt to collect, directly or indirectly,
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                                         13           debts owed or due or asserted to be owed or due another and are therefore
                                         14           debt collectors as that phrase is defined by 15 U.S.C. § 1692a(6).
                                         15     24.   Plaintiff is a natural person from whom a debt collector sought to collect a
                                         16           consumer debt which was due and owing or alleged to be due and owing from
                                         17           Plaintiff, and is a “debtor” as that term is defined by California Civil Code §
                                         18           1788.2(h).
                                         19     25.   Defendants, in the ordinary course of business, regularly, on behalf of
                                         20           themselves, or others, engage in debt collection as that term is defined by
                                         21           California Civil Code § 1788.2(b), are therefore debt collectors as that term is
                                         22           defined by California Civil Code § 1788.2(c).
                                         23     26.   This case involves money, property or their equivalent, due or owing or
                                         24           alleged to be due or owing from a natural person by reason of a consumer
                                         25           credit transaction. As such, this action arises out of a consumer debt and
                                         26           “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f).
                                         27     ///
                                         28     ///

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                                          1                                         FACTUAL ALLEGATIONS
                                          2     27.   Sometime before 2005, Plaintiff is alleged to have incurred certain financial
                                          3           obligations for purchases from Dell financed through Dell Financial
                                          4           Services / Citi Online Bank.
                                          5     28.   These financial obligations were primarily for personal, family or household
                                          6           purposes and are therefore a “debt” as that term is defined by 15 U.S.C.
                                          7           §1692a(5).
                                          8     29.   These alleged obligations were money, property, or their equivalent, which is
                                          9           due or owing, or alleged to be due or owing, from a natural person to another
                                         10           person and are therefore a “debt” as that term is defined by California Civil
                                         11           Code §1788.2(d), and a “consumer debt” as that term is defined by California
                                         12           Civil Code §1788.2(f).
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                                         13     30.   Sometime thereafter, in or about October or November of 2005, but before
                                         14           2006, Plaintiff allegedly fell behind in the payments allegedly owed on the
                                         15           alleged debt. Plaintiff currently takes no position as to the validity of this
                                         16           alleged debt.
                                         17     31.   Subsequently, but before July 5, 2013, the alleged debt was assigned, placed,
                                         18           or otherwise transferred, to Asset for collection.
                                         19     32.   Subsequently, but before July 5, 2013, Defendant, Asset, a debt collector
                                         20           pursuant to the FDCPA, retained Defendant, Fulton also a debt collector
                                         21           pursuant to the FDCPA to proceed with legal action against Plaintiff for the
                                         22           collection of Plaintiff’s alleged financial obligations.
                                         23     33.   Pursuant to the instructions of Defendant, Asset, Defendant, Fulton in the
                                         24           name of Asset, filed a state collection case against Plaintiff on July 5, 2013 in
                                         25           the San Diego Superior Court based on a consumer account that was allegedly
                                         26           in default, Case No. 37-2013-56318-CL-CL-CTL.
                                         27     34.   Plaintiff was served with the summons and complaint shortly after then.
                                         28     ///

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                                          1     35.   This communication to Plaintiff was a “communication” as that term is
                                          2           defined by 15 U.S.C. § 1692a(2), and an “initial communication” consistent
                                          3           with 15 U.S.C. § 1692g(a).
                                          4     36.   This communication was a “debt collection” as Cal. Civ. Code 1788.2(b)
                                          5           defines that phrase, and an “initial communication” consistent with Cal. Civ.
                                          6           Code § 1812.700(b).
                                          7     37.   Defendants’ lawsuit against Plaintiff was based on a contract and several other
                                          8           common counts each of which have a statute of limitations of four (4) years.
                                          9     38.   Plaintiff fell into default on this account in late 2005, prior to 2006, at least
                                         10           six and a half (6.5) ago.
                                         11     39.   Defendants did not file the underlying state court action until July 5, 2013, at
                                         12           least two years after the statute of limitations expired.
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                                         13     40.   Defendants brought their action against Plaintiff knowing that the statute of
                                         14           limitations had run. Plaintiff’s debt could no longer be enforced by legal
                                         15           action.
                                         16     41.   Through this conduct, Defendant made a false representation concerning the
                                         17           character, amount, or legal status of a debt. Consequently, Defendant violated
                                         18           15 U.S.C. § 1692e(2)(A).
                                         19     42.   Through this conduct, Defendant threatened to take action that cannot legally
                                         20           be taken or that is not intended to be taken. Consequently, Defendant violated
                                         21           15 U.S.C. § 1692e(5).
                                         22     43.   Through this conduct, Defendant used false representations or deceptive
                                         23           means to collect or attempt to collect a debt or to obtain information
                                         24           concerning a consumer. Consequently, Defendant violated 15 U.S.C. § 1692e
                                         25           and 15 U.S.C. § 1692e(10).
                                         26     44.   Because this violated certain portions of the federal Fair Debt Collection
                                         27           Practices Act as these portions are incorporated by reference in the Rosenthal
                                         28

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                                         1            Fair Debt Collection Practices Act, through California Civil Code § 1788.17,
                                         2            this conduct or omission violated Cal. Civ. Code § 1788.17.
                                         3     45.    Plaintiff has been forced to pay out-of-pocket to defend the underlying
                                         4            collection action in state court as a result of the acts of defendants.
                                         5                                            CAUSES OF ACTION
                                         6                                                   COUNT I
                                         7                       FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
                                         8                                        15 U.S.C. §§ 1692 ET SEQ.
                                         9     46.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                        10            paragraphs.
                                        11     47.    The foregoing acts and omissions constitute numerous and multiple violations
                                        12            of the FDCPA, including but not limited to each and every one of the above-
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                                        13            cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.
                                        14     48.    As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                                        15            any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
                                        16            an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,
                                        17            reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from
                                        18            each and every defendant, jointly and severally.
                                        19                                                  COUNT II
                                        20           ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT (ROSENTHAL ACT)
                                        21                                   CAL. CIV. CODE §§ 1788-1788.32
                                        22     49.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
                                        23            paragraphs.
                                        24     50.    The foregoing acts and omissions constitute numerous and multiple violations
                                        25            of the Rosenthal Act, including but not limited to each and every one of the
                                        26            above-cited provisions of the Rosenthal Act, Cal. Civ. Code §§ 1788-1788.32
                                        27     51.    As a result of each and every violation of the Rosenthal Act, Plaintiff is
                                        28            entitled to any actual damages pursuant to Cal. Civ. Code § 1788.30(a);

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                                          1           statutory damages for a knowing or willful violation in the amount up to
                                          2           $1,000.00 pursuant to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s
                                          3           fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from each and every
                                          4           defendant, jointly and severally.
                                          5                                           PRAYER FOR RELIEF
                                          6     WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
                                          7     Plaintiff be awarded damages from Defendant, as follows:
                                          8           •       An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
                                          9                   1692k(a)(2)(A);
                                         10           •       An award of costs of litigation and reasonable attorney’s fees, pursuant
                                         11                   to 15 U.S.C. § 1692k(a)(3);
                                         12           •       An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
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                                         13                   § 1788.30(b);
                                         14           •       An award of costs of litigation and reasonable attorney’s fees, pursuant
                                         15                   to Cal. Civ. Code § 1788.30(c).
                                         16     52.   Pursuant to the seventh amendment to the Constitution of the United States of
                                         17           America, Plaintiff is entitled to, and demands, a trial by jury.
                                         18
                                         19     Respectfully submitted,
                                                                                                         Hyde & Swigart
                                         20
                                         21
                                                Date: October 28, 2013                           By: /s/Jessica R. K. Dorman
                                         22
                                                                                                     Jessica R. K. Dorman
                                         23                                                          Attorneys for Plaintiff
                                         24
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I. (a) PLAINTIFFS                                                                                           DEFENDANTS
Cheval Ford                                                                                               Asset Acceptance, LLC; and Fulton, Friedman & Gullace, LLP

    (b)&RXQW\RI5HVLGHQFHRI)LUVW/LVWHG3ODLQWLII         San Diego                                   &RXQW\RI5HVLGHQFHRI)LUVW/LVWHG'HIHQGDQW
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    (c)$WWRUQH\V(Firm Name, Address, and Telephone Number)                                              $WWRUQH\V(If Known)
Jessica R. K. Dorman, Esq.; Robert L. Hyde, Esq.; Hyde & Swigart
2221 Camino Del Rio South, Suite 101, San Diego, CA 92108                                                                                          '13CV2626 MMA KSC
(619) 233-7770

II. BASIS OF JURISDICTION(Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                           and One Box for Defendant)
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u   7RUWVWR/DQG                u +RXVLQJ                      6HQWHQFH                                                            86&                      6WDWH6WDWXWHV
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u   $OO2WKHU5HDO3URSHUW\      u $PHUZ'LVDELOLWLHV   u 'HDWK3HQDOW\                    IMMIGRATION
                                            (PSOR\PHQW               Other:                      u 1DWXUDOL]DWLRQ$SSOLFDWLRQ
                                     u $PHUZ'LVDELOLWLHV   u 0DQGDPXV 2WKHU        u 2WKHU,PPLJUDWLRQ
                                            2WKHU                  u &LYLO5LJKWV              $FWLRQV
                                     u (GXFDWLRQ                u 3ULVRQ&RQGLWLRQ
                                                                    u &LYLO'HWDLQHH
                                                                         &RQGLWLRQVRI
                                                                         &RQILQHPHQW
V. ORIGIN(Place an “X” in One Box Only)
u  2ULJLQDO             u  5HPRYHGIURP                u        5HPDQGHGIURP            u  5HLQVWDWHGRU       u  7UDQVIHUUHGIURP            u  0XOWLGLVWULFW
    3URFHHGLQJ               6WDWH&RXUW                            $SSHOODWH&RXUW              5HRSHQHG                 $QRWKHU'LVWULFW                 /LWLJDWLRQ
                                                                                                                             (specify)
                                         &LWHWKH86&LYLO6WDWXWHXQGHUZKLFK\RXDUHILOLQJ(Do not cite jurisdictional statutes unless diversity)
                                         15 U.S.C. § 1692 et seq.
VI. CAUSE OF ACTION                      %ULHIGHVFULSWLRQRIFDXVH
                                         Unfair Debt Collection Practices
VII. REQUESTED IN     u &+(&.,)7+,6,6$CLASS ACTION                                               DEMAND $                                     &+(&.<(6RQO\LIGHPDQGHGLQFRPSODLQW
     COMPLAINT:          81'(558/()5&Y3                                                       2,000.00                                   JURY DEMAND:         u <HV     u 1R
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               -8'*(                                                                                             '2&.(7180%(5
'$7(                                                                   6,*1$785(2)$77251(<2)5(&25'
10/30/2013                                                            s/Jessica R. K. Dorman
FOR OFFICE USE ONLY

    5(&(,37                     $02817                                   $33/<,1*,)3                                     -8'*(                            0$*-8'*(
               Case 3:13-cv-02626-MMA-KSC Document 1 Filed 10/30/13 PageID.10 Page 10 of 10
-65HYHUVH 5HY


                      INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                 $XWKRULW\)RU&LYLO&RYHU6KHHW

7KH-6FLYLOFRYHUVKHHWDQGWKHLQIRUPDWLRQFRQWDLQHGKHUHLQQHLWKHUUHSODFHVQRUVXSSOHPHQWVWKHILOLQJVDQGVHUYLFHRISOHDGLQJRURWKHUSDSHUVDV
UHTXLUHGE\ODZH[FHSWDVSURYLGHGE\ORFDOUXOHVRIFRXUW7KLVIRUPDSSURYHGE\WKH-XGLFLDO&RQIHUHQFHRIWKH8QLWHG6WDWHVLQ6HSWHPEHULV
UHTXLUHGIRUWKHXVHRIWKH&OHUNRI&RXUWIRUWKHSXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW&RQVHTXHQWO\DFLYLOFRYHUVKHHWLVVXEPLWWHGWRWKH&OHUNRI
&RXUWIRUHDFKFLYLOFRPSODLQWILOHG7KHDWWRUQH\ILOLQJDFDVHVKRXOGFRPSOHWHWKHIRUPDVIROORZV

I.(a)    Plaintiffs-Defendants.(QWHUQDPHV ODVWILUVWPLGGOHLQLWLDO RISODLQWLIIDQGGHIHQGDQW,IWKHSODLQWLIIRUGHIHQGDQWLVDJRYHUQPHQWDJHQF\XVH
         RQO\WKHIXOOQDPHRUVWDQGDUGDEEUHYLDWLRQV,IWKHSODLQWLIIRUGHIHQGDQWLVDQRIILFLDOZLWKLQDJRYHUQPHQWDJHQF\LGHQWLI\ILUVWWKHDJHQF\DQG
         WKHQWKHRIILFLDOJLYLQJERWKQDPHDQGWLWOH
  (b)    County of Residence.)RUHDFKFLYLOFDVHILOHGH[FHSW86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\ZKHUHWKHILUVWOLVWHGSODLQWLIIUHVLGHVDWWKH
         WLPHRIILOLQJ,Q86SODLQWLIIFDVHVHQWHUWKHQDPHRIWKHFRXQW\LQZKLFKWKHILUVWOLVWHGGHIHQGDQWUHVLGHVDWWKHWLPHRIILOLQJ 127(,QODQG
         FRQGHPQDWLRQFDVHVWKHFRXQW\RIUHVLGHQFHRIWKHGHIHQGDQWLVWKHORFDWLRQRIWKHWUDFWRIODQGLQYROYHG
  (c)    Attorneys.(QWHUWKHILUPQDPHDGGUHVVWHOHSKRQHQXPEHUDQGDWWRUQH\RIUHFRUG,IWKHUHDUHVHYHUDODWWRUQH\VOLVWWKHPRQDQDWWDFKPHQWQRWLQJ
         LQWKLVVHFWLRQ VHHDWWDFKPHQW 

II.      Jurisdiction.7KHEDVLVRIMXULVGLFWLRQLVVHWIRUWKXQGHU5XOH D )5&Y3ZKLFKUHTXLUHVWKDWMXULVGLFWLRQVEHVKRZQLQSOHDGLQJV3ODFHDQ;
         LQRQHRIWKHER[HV,IWKHUHLVPRUHWKDQRQHEDVLVRIMXULVGLFWLRQSUHFHGHQFHLVJLYHQLQWKHRUGHUVKRZQEHORZ
         8QLWHG6WDWHVSODLQWLII  -XULVGLFWLRQEDVHGRQ86&DQG6XLWVE\DJHQFLHVDQGRIILFHUVRIWKH8QLWHG6WDWHVDUHLQFOXGHGKHUH
         8QLWHG6WDWHVGHIHQGDQW  :KHQWKHSODLQWLIILVVXLQJWKH8QLWHG6WDWHVLWVRIILFHUVRUDJHQFLHVSODFHDQ;LQWKLVER[
         )HGHUDOTXHVWLRQ  7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHMXULVGLFWLRQDULVHVXQGHUWKH&RQVWLWXWLRQRIWKH8QLWHG6WDWHVDQDPHQGPHQW
         WRWKH&RQVWLWXWLRQDQDFWRI&RQJUHVVRUDWUHDW\RIWKH8QLWHG6WDWHV,QFDVHVZKHUHWKH86LVDSDUW\WKH86SODLQWLIIRUGHIHQGDQWFRGHWDNHV
         SUHFHGHQFHDQGER[RUVKRXOGEHPDUNHG
         'LYHUVLW\RIFLWL]HQVKLS  7KLVUHIHUVWRVXLWVXQGHU86&ZKHUHSDUWLHVDUHFLWL]HQVRIGLIIHUHQWVWDWHV:KHQ%R[LVFKHFNHGWKH
         FLWL]HQVKLSRIWKHGLIIHUHQWSDUWLHVPXVWEHFKHFNHG. 6HH6HFWLRQ,,,EHORZ; NOTE: federal question actions take precedence over diversity
         cases.

III.     Residence (citizenship) of Principal Parties.7KLVVHFWLRQRIWKH-6LVWREHFRPSOHWHGLIGLYHUVLW\RIFLWL]HQVKLSZDVLQGLFDWHGDERYH0DUNWKLV
         VHFWLRQIRUHDFKSULQFLSDOSDUW\

IV.      Nature of Suit.3ODFHDQ;LQWKHDSSURSULDWHER[,IWKHQDWXUHRIVXLWFDQQRWEHGHWHUPLQHGEHVXUHWKHFDXVHRIDFWLRQLQ6HFWLRQ9,EHORZLV
         VXIILFLHQWWRHQDEOHWKHGHSXW\FOHUNRUWKHVWDWLVWLFDOFOHUN V LQWKH$GPLQLVWUDWLYH2IILFHWRGHWHUPLQHWKHQDWXUHRIVXLW,IWKHFDXVHILWVPRUHWKDQ
         RQHQDWXUHRIVXLWVHOHFWWKHPRVWGHILQLWLYH

V.       Origin.3ODFHDQ;LQRQHRIWKHVL[ER[HV
         2ULJLQDO3URFHHGLQJV  &DVHVZKLFKRULJLQDWHLQWKH8QLWHG6WDWHVGLVWULFWFRXUWV
         5HPRYHGIURP6WDWH&RXUW  3URFHHGLQJVLQLWLDWHGLQVWDWHFRXUWVPD\EHUHPRYHGWRWKHGLVWULFWFRXUWVXQGHU7LWOH86&6HFWLRQ
         :KHQWKHSHWLWLRQIRUUHPRYDOLVJUDQWHGFKHFNWKLVER[
         5HPDQGHGIURP$SSHOODWH&RXUW  &KHFNWKLVER[IRUFDVHVUHPDQGHGWRWKHGLVWULFWFRXUWIRUIXUWKHUDFWLRQ8VHWKHGDWHRIUHPDQGDVWKHILOLQJ
         GDWH
         5HLQVWDWHGRU5HRSHQHG  &KHFNWKLVER[IRUFDVHVUHLQVWDWHGRUUHRSHQHGLQWKHGLVWULFWFRXUW8VHWKHUHRSHQLQJGDWHDVWKHILOLQJGDWH
         7UDQVIHUUHGIURP$QRWKHU'LVWULFW  )RUFDVHVWUDQVIHUUHGXQGHU7LWOH86&6HFWLRQ D 'RQRWXVHWKLVIRUZLWKLQGLVWULFWWUDQVIHUVRU
         PXOWLGLVWULFWOLWLJDWLRQWUDQVIHUV
         0XOWLGLVWULFW/LWLJDWLRQ  &KHFNWKLVER[ZKHQDPXOWLGLVWULFWFDVHLVWUDQVIHUUHGLQWRWKHGLVWULFWXQGHUDXWKRULW\RI7LWOH86&6HFWLRQ
         :KHQWKLVER[LVFKHFNHGGRQRWFKHFN  DERYH

VI.      Cause of Action.5HSRUWWKHFLYLOVWDWXWHGLUHFWO\UHODWHGWRWKHFDXVHRIDFWLRQDQGJLYHDEULHIGHVFULSWLRQRIWKHFDXVHDo not cite jurisdictional
         statutes unless diversity. ([DPSOH86&LYLO6WDWXWH86&%ULHI'HVFULSWLRQ8QDXWKRUL]HGUHFHSWLRQRIFDEOHVHUYLFH

VII.     Requested in Complaint.&ODVV$FWLRQ3ODFHDQ;LQWKLVER[LI\RXDUHILOLQJDFODVVDFWLRQXQGHU5XOH)5&Y3
         'HPDQG,QWKLVVSDFHHQWHUWKHDFWXDOGROODUDPRXQWEHLQJGHPDQGHGRULQGLFDWHRWKHUGHPDQGVXFKDVDSUHOLPLQDU\LQMXQFWLRQ
         -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG

VIII. Related Cases.7KLVVHFWLRQRIWKH-6LVXVHGWRUHIHUHQFHUHODWHGSHQGLQJFDVHVLIDQ\,IWKHUHDUHUHODWHGSHQGLQJFDVHVLQVHUWWKHGRFNHW
      QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV

Date and Attorney Signature.'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
